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                                                                                                             E-FILED
                                                                         Tuesday, 22 February, 2022 04:26:30 PM
                                                                                   Clerk, U.S. District Court, ILCD

                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE CENTRAL DISTRICT OF ILLINOIS
                                      PEORIA DIVISION

K.R., a Minor, by and through COMMERCE    )
TRUST COMPANY, as Guardian of the Estate  )
of K.R., and SHREZE JOHNSON, Individually;)
                                          )
                Plaintiffs,               )
                                          )                       Case No. 1:19-cv-01047
        v.                                )
                                          )
UNITED STATES OF AMERICA;                 )
OSF HEALTHCARE SYSTEM, an Illinois        )
Corporation d/b/a SAINT FRANCIS MEDICAL )
CENTER; BRADLEY NITZSCHE, M.D.;           )
MICHAEL LEONARDI, M.D.; DOUGLAS C.        )
HARRINGTON, M.D., S.C., an Illinois       )
Corporation; DOUGLAS C. HARRINGTON, M.D.;)
ILLINOIS HOSPITAL MEDICINE ASSOCIATES,)
P.C., an Illinois Corporation; ANTHONY J. )
CARUSO, M.D.; OSF MULTI-SPECIALTY         )
GROUP, an Illinois Corporation; SHELLY    )
SHALLAT, M.D.; SUSAN RAMIRO, M.D          )
                                          )
                Defendants.               )

                                  SECOND AMENDED COMPLAINT

                                     JURISDICTION AND VENUE

        1.          This action arises under the Federal Tort Claims Act, 28 U.S.C. §§ 2671, et seq.

        2.          The Plaintiffs, K.R., a Minor, by and through Commerce Trust Company, as

Guardian of the Estate of K.R., and Shreze Johnson, Individually, have complied with Section

2675(a) of the Federal Tort Claims Act, and have exhausted their administrative remedies before

filing this suit.

        3.          On April 25, 2018, the Plaintiffs filed an administrative claim with the United States

Department of Health & Human Services (“HHS”) for medical care that resulted in significant

injuries to K.R.

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       4.      On August 30, 2018, HHS denied the administrative claim. (See Denial Letter,

attached as Exhibit A).

       5.      The Plaintiffs have elected to file suit against the USA in the United States District

Court for the Central District of Illinois pursuant to 28 U.S.C. § 2401(b).

       6.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1346(b), in which the

District Court shall have exclusive jurisdiction of civil actions on claims against the United States

for money damages for personal injury by the negligent or wrongful act or omission of any

employee of the Government while acting within the scope of her office or employment, under

circumstances where the United States, if a private person, would be liable to the claimant in

accordance with the laws of the State of Illinois.

       7.      Venue is proper under 28 U.S.C. § 1391(b) because all of the acts and omissions

forming the basis of the claim occurred in the Central District of Illinois.

       8.      On or about March 22, 2017, and at all times material, HEARTLAND

COMMUNITY HEALTH CLINIC (“HEARTLAND”) was a healthcare facility located in Peoria,

Peoria County, Illinois, receiving grant money from the United States Public Healthcare Service,

pursuant to 42 U.S.C. § 233, as well as being the employer of various physicians, nurses, and

healthcare workers.

       9.      On or about March 22, 2017, and at all times material, CAROLYN CALHOUN,

R.N. (“CALHOUN”) was an agent, servant, and/or employee of HEARTLAND and USA.

       10.     Defendant, USA, has been deemed the employer of HEARTLAND and

CALHOUN, pursuant to 42 U.S.C. § 233, for FTCA purposes only. (See Declaration and Deeming

Letters, attached as Exhibit B).




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                                   GENERAL ALLEGATIONS
       11.     On or around March 22, 2017, and at all times material, Shreze Johnson lived in

Peoria, Peoria County, Illinois.

       12.     Shreze Johnson is the mother of K.R.

       13.     On March 22, 2017 to March 23, 2017, and at all times material, OSF Healthcare

System (“OSF”) was an Illinois corporation, licensed to do business in Illinois, operating a hospital

as Saint Francis Medical Center, located at 530 Northeast Glen Oak Avenue, Peoria, Peoria

County, Illinois.

       14.     On or around March 22, 2017, and at all times material, OSF provided certain

facilities, including but not limited to, labor and delivery rooms, a newborn nursery, and a Neonatal

Intensive Care Unit for patients, including Shreze Johnson and K.R.

       15.     On or around March 22, 2017, and at all times material, OSF held itself out to the

general public to be a provider of medical, nursing, and hospital services.

       16.     On or around March 22, 2017, and at all times material, OSF employed certain

personnel, including but not limited to, physicians, residents, nurses, and other hospital personnel,

who provided medical, hospital, and nursing services to Shreze Johnson during her pregnancy,

labor, and delivery of K.R.

       17.     On or around March 22, 2017, and at all times material, Douglas C. Harrington,

M.D., S.C. (“Harrington Corporation”) was an Illinois corporation, licensed to do business in

Illinois, operating a medical business with its registered address as 2609 Broadway in Pekin,

Tazewell County, Illinois.

       18.     On or around March 22, 2017, and at all times material, Harrington Corporation

provided labor and delivery services for patients, including Shreze Johnson and K.R.



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       19.     On or around March 22, 2017, and at all times material, Harrington Corporation

held itself out to the general public to be a provider of obstetrics & gynecology services.

       20.     On or around March 22, 2017, and at all times material, Harrington Corporation

employed certain personnel, including physicians, who provided obstetrical services to Shreze

Johnson during her pregnancy, labor, and delivery of K.R.

       21.     On or around March 22, 2017, and at all times material, Illinois Hospital Medicine

Associates, Inc. (“IHMA”) was an Illinois corporation, licensed to do business in Illinois, with its

registered address as 801 Adlai Stevenson Drive, Springfield, Sangamon County, Illinois.

       22.     On or around March 22, 2017, and at all times material, IHMA provided labor and

delivery services for patients, including Shreze Johnson and K.R.

       23.     On or around March 22, 2017, and at all times material, IHMA held itself out to the

general public to be a provider of obstetrics & gynecology services.

       24.     On or around March 22, 2017, and at all times material, IHMA employed certain

personnel, including physicians, who provided obstetrical services to Shreze Johnson during her

pregnancy, labor, and delivery of K.R.

       25.     On or around March 22, 2017, and at all times material, Bradley Nitzsche, M.D.

(“Dr. Nitzsche”) was a physician licensed to practice medicine in the State of Illinois.

       26.     On or around March 22, 2017, and at all times material, Dr. Nitzsche held himself

out to Shreze Johnson and the general public to be a specialist in obstetrics.

       27.     On or around March 22, 2017, and at all times material, Dr. Nitzsche was the

resident physician responsible for managing the labor of Shreze Johnson and delivery of K.R.

       28.     On or around March 22, 2017, and at all times material, Dr. Nitzsche was an

employee and agent of OSF, and treating patients at Saint Francis Medical Center.



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       29.     On or around March 22, 2017, and at all times material, Dr. Nitzsche was an

employee and agent of OSF acting within the scope of his employment during the labor of Shreze

Johnson and delivery of K.R.

       30.     On or around March 22, 2017, and at all times material, Dr. Nitzsche was an

apparent agent of OSF.

       31.     On or around March 22, 2017, and at all times material, Michael Leonardi, M.D.

(“Dr. Leonardi”) was a physician licensed to practice medicine in the State of Illinois.

       32.     On or around March 22, 2017, and at all times material, Dr. Leonardi held himself

out to Shreze Johnson and the general public to be a specialist in obstetrics.

       33.     On or around March 22, 2017, and at all times material, Dr. Leonardi was the

attending physician responsible for managing the labor of Shreze Johnson and delivery of K.R.

       34.     On or around March 22, 2017, and at all times material, Dr. Leonardi was an

employee and agent of OSF, and treating patients at Saint Francis Medical Center.

       35.     On or around March 22, 2017, and at all times material, Dr. Leonardi was an

employee and agent of OSF acting within the scope of his employment during the labor of Shreze

Johnson and delivery of K.R.

       36.     On or around March 22, 2017, and at all times material, Dr. Leonardi was an

apparent agent of OSF.

       37.     On or around March 22, 2017, and at all times material, Douglas C. Harrington,

M.D. (“Dr. Harrington”) was a physician licensed to practice medicine in the State of Illinois.

       38.     On or around March 22, 2017, and at all times material, Dr. Harrington held himself

out to Shreze Johnson and the general public to be a specialist in obstetrics.




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       39.     On or around March 22, 2017, and at all times material, Dr. Harrington was one of

the physicians responsible for managing the labor of Shreze Johnson and delivery of K.R.

       40.     On or around March 22, 2017, and at all times material, Dr. Harrington was an

employee and agent of OSF, and treating patients at Saint Francis Medical Center.

       41.     On or around March 22, 2017, and at all times material, Dr. Harrington was an

employee and agent of OSF acting within the scope of his employment during the labor of Shreze

Johnson and delivery of K.R.

       42.     On or around March 22, 2017, and at all times material, Dr. Harrington was an

apparent agent of OSF.

       43.     On or around March 22, 2017, and at all times material, Dr. Harrington was

employed by Harrington Corporation, and treating patients at Saint Francis Medical Center.

       44.     On or around March 22, 2017, and at all times material, Dr. Harrington was an

employee or agent of Harrington Corporation, acting within the scope of his employment during

the labor of Shreze Johnson and delivery of K.R.

       45.     On or around March 22, 2017, and at all times material, Anthony J. Caruso, M.D.

(“Dr. Caruso”) was a physician licensed to practice medicine in the State of Illinois.

       46.     On or around March 22, 2017, and at all times material, Dr. Caruso held himself

out to Shreze Johnson and the general public to be a specialist in obstetrics.

       47.     On or around March 22, 2017, and at all times material, Dr. Caruso was one of the

physicians responsible for managing the labor of Shreze Johnson and delivery of K.R.

       48.     On or around March 22, 2017, and at all times material, Dr. Caruso was an

employee and agent of OSF, and treating patients at Saint Francis Medical Center.




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       49.      On or around March 22, 2017, and at all times material, Dr. Caruso was an

employee and agent of OSF acting within the scope of his employment during the labor of Shreze

Johnson and delivery of K.R.

       50.      On or around March 22, 2017, and at all times material, Dr. Caruso was an apparent

agent of OSF.

       51.      On or around March 22, 2017, and at all times material, Dr. Caruso was employed

by IHMA, and treating patients at Saint Francis Medical Center.

       52.      On or around March 22, 2017, and at all times material, Dr. Caruso was an

employee or agent of IHMA, acting within the scope of his employment during the labor of Shreze

Johnson and delivery of K.R.

       53.      On or around March 22, 2017, the fetal monitor strip monitoring the heart rate of

K.R. became non-reassuring.

       54.      On or around March 22, 2017, the fetal monitor strip demonstrated K.R.’s fetal

heart race tracing progressed to a Category III tracing.

       55.      On March 22, 2017, the decision was made to proceed with a vacuum-assisted

delivery.

       56.      On March 22, 2017, at the time the decision was made to proceed with a vacuum-

assisted delivery, K.R. was in the Occiput Posterior (“OP”) position.

       57.      On March 22, 2017, Drs. Nitzsche, Leonardi, Harrington, and Caruso, assessed

K.R. to be in the Occiput Anterior position.

       58.      On March 22, 2017, Shreze Johnson did not consent to the use of a vacuum on an

OP position.




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        59.    On March 22, 2017, Defendants did not offer Shreze Johnson the option of a

Caesarian section.

        60.    On March 22, 2017, Defendants encountered a shoulder dystocia in their vacuum-

assisted delivery of K.R.

        61.    On March 22, 2017, K.R. was delivered and taken directly to the infant warmer.

        62.    On March 22, 2017, K.R. was resuscitated.

        63.    On March 22, 2017, K.R. experienced subgaleal hemorrhage.

        64.    On March 22, 2017 to March 23, 2017, K.R. experienced hypoperfusion.

        65.    On March 22, 2017 to March 23, 2017, and at all times material, OSF employed

certain personnel, including but not limited to, physicians and residents, to provide pediatric and

neonatal medical care to patients like K.R.

        66.    On March 22, 2017 to March 23, 2017, and at all times material, Lauren Holmgren,

M.D. (hereinafter “Dr. Holmgren”) was a physician licensed to practice medicine in the State of

Illinois.

        67.    On March 22, 2017 to March 23, 2017, and at all times material, Dr. Holmgren held

herself out to the Plaintiffs and to the general public to be a specialist in pediatric medicine.

        68.    On March 22, 2017 to March 23, 2017, and at all times material, Dr. Holmgren was

one of the resident physicians at the newborn nursery responsible for managing the care of K.R.

        69.    On March 22, 2017 to March 23, 2017, and at all times material, Dr. Holmgren was

an employee and agent of OSF, and treating patients at Saint Francis Medical Center.

        70.    On March 22, 2017 to March 23, 2017, and at all times material, Dr. Holmgren was

an employee and agent of OSF acting within the scope of her employment while managing the

care of K.R. in the newborn nursery.



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        71.    On March 22, 2017 to March 23, 2017, and at all times material, Vivian Szymczuk,

M.D. (hereinafter “Dr. Szymczuk”) was a physician licensed to practice medicine in the State of

Illinois.

        72.    On March 22, 2017 to March 23, 2017, and at all times material, Dr. Szymczuk

held herself out to the Plaintiffs and to the general public to be a specialist in pediatric medicine.

        73.    On March 22, 2017 to March 23, 2017, and at all times material, Dr. Szymczuk was

one of the resident physicians at the newborn nursery responsible for managing the care of K.R.

        74.    On March 22, 2017 to March 23, 2017, and at all times material, Dr. Szymczuk was

an employee and agent of OSF, and treating patients at Saint Francis Medical Center.

        75.    On March 22, 2017 to March 23, 2017, and at all times material, Dr. Szymczuk was

an employee and agent of OSF acting within the scope of her employment while managing the

care of K.R. in the newborn nursery.

        76.    On March 22, 2017 to March 23, 2017, and at all times material, Shelly Shallat,

M.D. (hereinafter “Dr. Shallat”) was a physician licensed to practice medicine in the State of

Illinois.

        77.    On March 22, 2017 to March 23, 2017, and at all times material, Dr. Shallat held

herself out to the Plaintiffs and to the general public to be a specialist in pediatric medicine.

        78.    On March 22, 2017 to March 23, 2017, and at all times material, Dr. Shallat was

the attending physician at the newborn nursery responsible for managing the care of K.R.

        79.    On March 22, 2017 to March 23, 2017, and at all times material, Dr. Shallat was an

employee and agent of OSF, and treating patients at Saint Francis Medical Center.

        80.    On March 22, 2017 to March 23, 2017, and at all times material, Dr. Shallat was an

apparent agent of OSF, and treating patients at Saint Francis Medical Center.



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        81.    On March 22, 2017 to March 23, 2017, and at all times material, Dr. Shallat was an

employee and agent of OSF acting within the scope of her employment while managing the care

of K.R. in the newborn nursery.

        82.    On March 22, 2017 to March 23, 2017, and at all times material, OSF MULTI-

SPECIALTY GROUP (“OSFMSG”) was an Illinois corporation, licensed to do business in

Illinois.

        83.    On March 22, 2017 to March 23, 2017, and at all times material, OSFMSG held

itself out to the general public to be a provider of medical services.

        84.    On March 22, 2017 to March 23, 2017, and at all times material, OSFMSG

employed certain physicians, including Dr. Shallat, to provide medical services to K.R.

        85.    On March 22, 2017 to March 23, 2017, and at all times material, Dr. Shallat was an

employee and agent of OSFMSG.

        86.    On March 22, 2017 to March 23, 2017, and at all times material, Dr. Shallat was an

employee, agent, and/or apparent agent of OSFMSG acting within the scope of her employment

while managing the care of K.R. in the newborn nursery.

        87.    On March 23, 2017, and at all times material, Kyle Hickman, M.D. (hereinafter

“Dr. Hickman”) was a physician licensed to practice medicine in the State of Illinois.

        88.    On March 23, 2017, and at all times material, Dr. Hickman held himself out to the

Plaintiffs and to the general public to be a specialist in pediatric medicine.

        89.    On March 23, 2017, and at all times material, Dr. Hickman was one of the resident

physicians at the newborn nursery responsible for managing the care of K.R.

        90.    On March 23, 2017, and at all times material, Dr. Hickman was an employee and

agent of OSF, and treating patients at Saint Francis Medical Center.



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       91.     On March 23, 2017, and at all times material, Dr. Hickman was an employee and

agent of OSF acting within the scope of his employment while managing the care of K.R. in the

newborn nursery.

       92.     On March 22, 2017 through March 23, 2017, and at all times material, K.R. was

admitted as a patient to the newborn nursery at Saint Francis Medical Center.

       93.     On March 22, 2017 through March 24, 2017, and at all times material, the

physicians at the newborn nursery knew that K.R. had been delivered with vacuum assistance.

       94.     On March 22, 2017, in the early evening, Dr. Szymczuk was informed that K.R.

had a lower tone than expected and that she had a weak cry.

       95.     On March 22, 2017, at or around 6:00 p.m., there was bruising on the posterior

scalp with molding and edema.

       96.     On March 22, 2017, at or around 6:00 p.m., K.R.’s head circumference was 33.5

cm.

       97.     On March 22, 2017, at or around 8:52 p.m., K.R.’s hematocrit was at 44.1.

       98.     K.R. was noted to cry all night from the night of March 22, 2017 through the

morning of March 23, 2017.

       99.     K.R.’s head circumference grew 1.5 cm overnight to 35 cm.

       100.    On March 23, 2017, at around 5:00 a.m., Dr. Hickman noted that K.R. was irritable

with a significant scalp edema.

       101.    On March 23, 2017, at or around 5:00 a.m., Dr. Hickman did not put the scalp

edema in the context of a vacuum-assisted delivery.

       102.    On March 23, 2017, at or around 6:45 a.m., Dr. Shallat performed a morning

assessment of K.R.



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       103.    On March 23, 2017, during her morning assessment, Dr. Shallat noted that K.R.

had molding of the head.

       104.    On March 23, 2017, during her morning assessment, Dr. Shallat noted that K.R.’s

hemoglobin had dropped from 14.4 to 11.9.

       105.    On March 23, 2017, Dr. Shallat did not include a subgaleal hemorrhage in the

differential diagnosis.

       106.    On March 23, 2017, and at all times material, Susan Ramiro, M.D. (hereinafter “Dr.

Ramiro”) was a physician licensed to practice medicine in the State of Illinois.

       107.    On March 23, 2017, and at all times material, Dr. Ramiro held herself out to the

Plaintiffs and to the general public to be a specialist in neonatal medicine.

       108.    On March 23, 2017, and at all times material, Dr. Ramiro was the attending

physician at the neonatal intensive care unit (“NICU”) responsible for managing the care of K.R.

       109.    On March 23, 2017, and at all times material, Dr. Ramiro was an employee and

agent of OSF, and treating patients at Saint Francis Medical Center.

       110.    On March 23, 2017, and at all times material, Dr. Ramiro was an apparent agent of

OSF, and treating patients at Saint Francis Medical Center.

       111.    On March 23, 2017, and at all times material, Dr. Ramiro was an employee, agent,

and/or apparent agent of OSF acting within the scope of her employment while managing the care

of K.R. in the NICU.

       112.    On March 23, 2017, and at all times material, Benedicto Fernandes, D.O.

(hereinafter “Dr. Fernandes”) was a physician licensed to practice medicine in the State of Illinois.

       113.    On March 23, 2017, and at all times material, Dr. Fernandes held himself out to the

Plaintiffs and to the general public to be a specialist in neonatal medicine.



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        114.   On March 23, 2017, and at all times material, Dr. Fernandes was one of the resident

physicians at the neonatal intensive care unit (“NICU”) responsible for managing the care of K.R.

        115.   On March 23, 2017, and at all times material, Dr. Fernandes was an employee and

agent of OSF, and treating patients at Saint Francis Medical Center.

        116.   On March 23, 2017, and at all times material, Dr. Fernandes was an employee and

agent of OSF acting within the scope of his employment while managing the care of K.R. in the

NICU.

        117.   On March 23, 2017, at or around 9:02 a.m., K.R. was transferred to the NICU.

        118.   On March 23, 2017, at or around 10:34 a.m., K.R.’s hematocrit had dropped to

31.5.

        119.   On March 23, 2017, at or around 4:05 p.m., K.R.’s hematocrit had dropped to 28.

        120.   A typical hematocrit for a newborn is in the 50s.

        121.   On March 23, 2017, at or around 5:48 p.m., Dr. Fernandes ordered a blood

transfusion for K.R.

        122.   The blood transfusion was not given until approximately 6:22 p.m. on March 23,

2017.

        123.   K.R. suffered kidney and liver damage due to the hypoperfusion secondary to the

subgaleal hemorrhage.

        124.   K.R. was subsequently diagnosed with cerebral palsy.

                                          COUNT I
                                     (Medical Negligence)
                                        (K.R. v. USA)

        NOW COMES the Plaintiff, K.R., a Minor, by and through COMMERCE TRUST

COMPANY, as Guardian of the Estate of K.R., by and through her attorneys, SALVI,



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SCHOSTOK & PRITCHARD P.C., and complaining of the Defendant, UNITED STATES OF

AMERICA, states as follows:

       1-124. The Plaintiff restates, realleges, and incorporates paragraphs 1 through 124 of the

General Allegations as paragraphs 1 through 124 of Count I.

       125.    On March 22, 2017, and at all times material, HEARTLAND operated as a general

healthcare clinic licensed by the State of Illinois in the County of Peoria.

       126.    On March 22, 2017, and at all times material, HEARTLAND was an Illinois

Corporation licensed by the State of Illinois.

       127.    On March 22, 2017, and at all times material, HEARTLAND held itself out to the

Plaintiffs, and to the public generally, as a provider of nurse midwife services.

       128.    On March 22, 2017, and at all times material, CALHOUN was a certified nurse

midwife licensed in the State of Illinois.

       129.    On March 22, 2017, and at all times material, CALHOUN held herself out to the

Plaintiffs, and to the public generally, to be a specialist in midwifery.

       130.    On March 22, 2017, and at all times material, HEARTLAND undertook to employ

CALHOUN for the purpose of providing medical services to individuals like the Plaintiffs.

       131.    On March 22, 2017, and at all times material, CALHOUN was a member of the

medical staff at HEARTLAND.

       132.    On March 22, 2017, and at all times material, CALHOUN was an employee,

servant, agent and/or apparent agent of HEARTLAND and the USA.

       133.    On March 22, 2017, and at all times material, HEARTLAND apparently loaned out

its employees and/or agents, including CALHOUN, to provide midwifery services at OSF SAINT




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FRANCIS MEDICAL CENTER (“ST. FRANCIS”) located in Peoria County, Illinois, to

obstetrics and gynecology patients at ST. FRANCIS.

       134.    On March 22, 2017, and at all times material, CALHOUN was an employee, agent

and/or apparent agent of ST. FRANCIS.

       135.    On March 22, 2017, and at all times material, Defendant, CALHOUN, was the

nurse midwife responsible for managing the labor of Shreze Johnson, and her delivery of K.R.

       136.    On March 22, 2017, and at all times material, ST. FRANCIS provided certain

facilities including Labor Room and Delivery Room for patients, including the Plaintiffs.

       137.    On March 22, 2017, and at all times material, ST. FRANCIS provided certain

instruments, drugs, and nurse midwifery services to patients, including the Plaintiffs.

       138.    On March 22, 2017, and at all times material, CALHOUN provided nurse

midwifery care to the Plaintiffs at ST. FRANCIS.

       139.    On March 22, 2017, and at all times material, while providing nurse midwifery care

to the Plaintiffs, CALHOUN was doing so as an employee, servant, agent and/or apparent agent

of HEARTLAND and the USA.

       140.    On March 22, 2017, and at all times material, while providing nurse midwifery care

to the Plaintiffs, CALHOUN had a duty to possess and apply the knowledge and skill that other

nurse midwives would exercise in the same or similar circumstances.

       141.    On March 22, 2017, and at all times material, in derogation of her aforementioned

duty, CALHOUN, individually, and as an employee, servant, agent and/or apparent agent of

HEARTLAND and/or the USA, breached that duty and was negligent in one or more of the

following respects:

           a. Failed to timely recommend a C-section;



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           b. Failed to appropriately respond to non-reassuring fetal monitor strips;

           c. Failed to advocate for Plaintiffs; and/or

           d. Failed to institute the chain of command.

       142.    As a direct and proximate result of one or more of the aforementioned negligent

acts and/or omissions of the Defendant, USA, K.R., a minor, suffered severe, permanent, and

irreversible neurological damages; is permanently disabled and disfigured; has experienced and

will permanently experience untold pain and suffering; has incurred and in the future, will incur,

obligations for substantial sums of money for hospital, medical, nursing, caretaking, custodial bills,

and has an impaired or no earning capacity.

       143.    The Plaintiff, K.R., a minor, through COMMERCE TRUST COMPANY, as

Guardian of the Estate of K.R., attaches affidavits and reports in compliance with 735 ILCS 5/2-

622 (attached as Group Exhibit C). Attached as Exhibit D is an Order appointing COMMERCE

TRUST COMPANY Guardian of the Estate of K.R., as evidence of its right to bring this action.

       WHEREFORE, the Plaintiff, K.R., a minor, by and through COMMERCE TRUST

COMPANY, as Guardian of the Estate of K.R., demands judgment against the Defendant,

UNITED STATES OF AMERICA.

                                           COUNT II
                                      (Family Expense Act)
                                        (Johnson v. USA)

       NOW COMES the Plaintiff, SHREZE JOHNSON, Individually, by and through her

attorneys, SALVI, SCHOSTOK & PRITCHARD P.C., and complaining of the Defendant,

UNITED STATES OF AMERICA, states as follows:




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       1-141. The Plaintiff, Shreze Johnson, Individually, re-states, re-alleges, and incorporates

by reference paragraphs 1 through 141 of the General Allegations and Count I as paragraphs 1

through 141 of Count II.

       142.    As a direct and proximate result of one or more of the foregoing negligent acts

and/or omissions of USA, the Plaintiff, Shreze Johnson, as the parent of the minor Plaintiff, K.R.,

incurred and in the future will incur obligations for substantial sums of money for hospital,

medical, nursing, and other medical and family expenses of the minor Plaintiff, pursuant to the

Illinois Family Expense Act, 750 ILCS 65/14.

       143.    The Plaintiff attaches affidavits and reports in compliance with 735 ILCS 5/2-622

(attached as Group Exhibit C).

       WHEREFORE, the Plaintiff, SHREZE JOHNSON, Individually, demands judgment

against the Defendant, UNITED STATES OF AMERICA.

                                          COUNT III
                                     (Medical Negligence)
                                   (K.R. v. OSF, Dr. Nitzsche)
       NOW COMES the Plaintiff, K.R., a Minor, by and through COMMERCE TRUST

COMPANY, as Guardian of the Estate of K.R., by and through her attorneys, SALVI,

SCHOSTOK & PRITCHARD P.C., and complaining of the Defendants, OSF HEALTHCARE

SYSTEM, an Illinois Corporation d/b/a SAINT FRANCIS MEDICAL CENTER and BRADLEY

NITZSCHE, M.D., states as follows:

       1-124. The Plaintiff re-states, re-alleges, and incorporates by reference, paragraphs 1

through 124 of the General Allegations as paragraphs 1 through 124 of Count III.

       125.    While providing obstetrical services to Shreze Johnson and K.R., Dr. Nitzsche had

a duty to possess and apply the knowledge, skill, and care of a reasonably careful obstetrician

under the same or similar circumstances.

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       126.    Dr. Nitzsche, individually and as an agent, apparent agent and/or employee of OSF,

breached his duty and was negligent in treating Shreze Johnson and K.R. in one or more of the

following respects:

            a. Failed to appropriately respond to non-reassuring fetal monitor strips;
            b. Failed to identify the OP position of the baby;
            c. Improperly used a vacuum-assisted method of delivery on a baby in an OP position;
            d. Failed to place the vacuum in the proper position on the baby’s head;

            e. Failed to properly assess the fetal position prior to placing the vacuum;
            f. Failed to inform Shreze Johnson of the risks associated with the use of a vacuum in
               the delivery of a baby in the OP position; and/or
            g. Failed to perform a cesarean section.

       127.    As a direct and proximate result of one or more of the foregoing negligent acts

and/or omissions of Dr. Nitzsche, individually, and as an agent, apparent agent and/or employee

of OSF, K.R., a minor, suffered severe, permanent, and irreversible neurological damages; is

permanently disabled and disfigured; has experienced and will permanently experience untold pain

and suffering; has incurred and in the future, will incur, obligations for substantial sums of money

for hospital, medical, nursing, caretaking, custodial bills, and has an impaired or no earning

capacity.

       128.    The Plaintiff attaches affidavits and reports in compliance with 735 ILCS 5/2-622

(attached as Group Exhibit C). Attached as Exhibit D is an Order appointing COMMERCE

TRUST COMPANY Guardian of the Estate of K.R., as evidence of its right to bring this action.

       WHEREFORE, the Plaintiff, K.R., a Minor, by and through COMMERCE TRUST

COMPANY, as Guardian of the Estate of K.R., demands judgment against Defendants, OSF

HEALTHCARE SYSTEM, an Illinois Corporation d/b/a SAINT FRANCIS MEDICAL

CENTER, and BRADLEY NITZSCHE, M.D.

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                                          COUNT IV
                                     (Family Expense Act)
                                 (Johnson v. OSF, Dr. Nitzsche)

       NOW COMES the Plaintiff, SHREZE JOHNSON, Individually, by and through her

attorneys, SALVI, SCHOSTOK & PRITCHARD P.C., and complaining of the Defendants, OSF

HEALTHCARE SYSTEM, an Illinois Corporation d/b/a SAINT FRANCIS MEDICAL CENTER

and BRADLEY NITZSCHE, M.D., states as follows:

       1-126. The Plaintiff, Shreze Johnson, Individually, re-states, re-alleges, and incorporates

by reference paragraphs 1 through 126 of the General Allegations and Count III as paragraphs 1

through 126 of Count IV.

       127.    Shreze Johnson is K.R.’s lawful parent and legal guardian, and as such, has become

liable for substantial pecuniary amounts arising out of K.R.’s injuries.

       128.    The recovery of the aforementioned expenses is set forth under the provisions of

the Family Expense Act, 750 ILCS 65/15.

       WHEREFORE, the Plaintiff, SHREZE JOHNSON, Individually, demands judgment

against Defendants, OSF HEALTHCARE SYSTEM, an Illinois Corporation d/b/a SAINT

FRANCIS MEDICAL CENTER, and BRADLEY NITZSCHE, M.D.

                                           COUNT V
                                     (Medical Negligence)
                                  (K.R. v. OSF, Dr. Leonardi)

       NOW COMES the Plaintiff, K.R., a Minor, by and through COMMERCE TRUST

COMPANY, as Guardian of the Estate of K.R., by and through her attorneys, SALVI,

SCHOSTOK & PRITCHARD P.C., and complaining of Defendants, OSF HEALTHCARE

SYSTEM, an Illinois Corporation d/b/a SAINT FRANCIS MEDICAL CENTER and MICHAEL

LEONARDI, M.D., states as follows:


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       1-124. The Plaintiff re-states, re-alleges, and incorporates by reference paragraphs 1

through 124 of the General Allegations as paragraphs 1 through 124 of Count V.

       125.    While providing obstetrical services to Shreze Johnson and K.R., Dr. Leonardi had

a duty to possess and apply the knowledge, skill, and care of a reasonably careful obstetrician

under the same or similar circumstances.

       126.    Dr. Leonardi, individually and as an agent, apparent agent and/or employee of OSF,

breached his duty and was negligent in treating Shreze Johnson and K.R. in one or more of the

following respects:

           a. Failed to appropriately respond to non-reassuring fetal monitor strips;

           b. Failed to identify the occiput posterior (“OP”) position of the baby;

           c. Improperly used a vacuum-assisted method of delivery on a baby in an OP position;

           d. Failed to recommend the proper position for placement of the vacuum on the baby’s
              head;

           e. Failed to intervene when the vacuum was placed in an improper position on the
              baby’s head;

           f. Failed to properly assess the fetal position prior to allowing the placement of the
              vacuum;

           g. Failed to inform Shreze Johnson of the risks associated with the use of a vacuum in
              the delivery of a baby in the OP position; and/or

           h. Failed to perform a cesarean section.

       127.    As a direct and proximate result of one or more of the foregoing negligent acts

and/or omissions of Dr. Leonardi, individually, and as an agent, apparent agent and/or employee

of OSF, K.R., a minor, suffered severe, permanent, and irreversible neurological damages; is

permanently disabled and disfigured; has experienced and will permanently experience untold pain

and suffering; has incurred and in the future, will incur, obligations for substantial sums of money


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for hospital, medical, nursing, caretaking, custodial bills, and has an impaired or no earning

capacity.

       128.    The Plaintiff attaches affidavits and reports in compliance with 735 ILCS 5/2-622

(attached as Group Exhibit C). Attached as Exhibit D is an Order appointing COMMERCE

TRUST COMPANY Guardian of the Estate of K.R., as evidence of its right to bring this action.

       WHEREFORE, the Plaintiff, K.R., a Minor, by and through COMMERCE TRUST

COMPANY, as Guardian of the Estate of K.R., demands judgment against Defendants, OSF

HEALTHCARE SYSTEM, an Illinois Corporation d/b/a SAINT FRANCIS MEDICAL

CENTER, and MICHAEL LEONARDI, M.D.

                                         COUNT VI
                                    (Family Expense Act)
                                (Johnson v. OSF, Dr. Leonardi)

       NOW COMES the Plaintiff, SHREZE JOHNSON, Individually, by and through her

attorneys, SALVI, SCHOSTOK & PRITCHARD P.C., and complaining of the Defendants, OSF

HEALTHCARE SYSTEM, an Illinois Corporation d/b/a SAINT FRANCIS MEDICAL CENTER

and MICHAEL LEONARDI, M.D., states as follows:

       1-126. The Plaintiff, Shreze Johnson, Individually, re-states, re-alleges, and incorporates

by reference paragraphs 1 through 126 of the General Allegations and Count V as paragraphs 1

through 126 of Count VI.

       127.    Shreze Johnson is K.R.’s lawful parent and legal guardian, and as such, has become

liable for substantial pecuniary amounts arising out of K.R.’s injuries.

       128.    The recovery of the aforementioned expenses is set forth under the provisions of

the Family Expense Act, 750 ILCS 65/15.




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       WHEREFORE, the Plaintiff, SHREZE JOHNSON, Individually, demands judgment

against Defendants, OSF HEALTHCARE SYSTEM, an Illinois Corporation d/b/a SAINT

FRANCIS MEDICAL CENTER, and MICHAEL LEONARDI, M.D.

                                       COUNT VII
                                    (Medical Negligence)
                      (K.R. v. OSF, Harrington Corp., Dr. Harrington)

       NOW COMES the Plaintiff, K.R., a Minor, by and through COMMERCE TRUST

COMPANY, as Guardian of the Estate of K.R., by and through her attorneys, SALVI,

SCHOSTOK & PRITCHARD P.C., and complaining of Defendants, OSF HEALTHCARE

SYSTEM, an Illinois Corporation; DOUGLAS C. HARRINGTON, M.D., S.C., an Illinois

Corporation; and DOUGLAS C. HARRINGTON, M.D.; states as follows:

       1-124. The Plaintiff re-states, re-alleges, and incorporates by reference paragraphs 1

through 124 of the General Allegations as paragraphs 1 through 124 of Count VII.

       125.    While providing obstetrical services to Shreze Johnson and K.R., Dr. Harrington

had a duty to possess and apply the knowledge, skill, and care of a reasonably careful obstetrician

under the same or similar circumstances.

       126.    Dr. Harrington, individually and as an agent, apparent agent and/or employee of

OSF and/or Harrington Corporation, breached his duty and was negligent in treating Shreze

Johnson and K.R. in one or more of the following respects:

           a. Failed to appropriately respond to non-reassuring fetal monitor strips;

           b. Failed to identify the occiput posterior (“OP”) position of the baby;

           c. Improperly used a vacuum-assisted method of delivery on a baby in an OP position;

           d. Failed to recommend the proper position for placement of the vacuum on the baby’s
              head;



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           e. Failed to intervene when the vacuum was placed in an improper position on the
              baby’s head;

           f. Failed to properly assess the fetal position prior to allowing the placement of the
              vacuum;

           g. Failed to inform Shreze Johnson of the risks associated with the use of a vacuum in
              the delivery of a baby in the OP position; and/or

           h. Failed to perform a cesarean section.

       127.    As a direct and proximate result of one or more of the foregoing negligent acts

and/or omissions of Dr. Harrington, individually, and as an agent, apparent agent and/or employee

of OSF and Harrington Corporation, K.R., a minor, suffered severe, permanent, and irreversible

neurological damages; is permanently disabled and disfigured; has experienced and will

permanently experience untold pain and suffering; has incurred and in the future, will incur,

obligations for substantial sums of money for hospital, medical, nursing, caretaking, custodial bills,

and has an impaired or no earning capacity.

       128.    The Plaintiff attaches affidavits and reports in compliance with 735 ILCS 5/2-622

(attached as Group Exhibit C). Attached as Exhibit D is an Order appointing COMMERCE

TRUST COMPANY Guardian of the Estate of K.R., as evidence of its right to bring this action.

       WHEREFORE, the Plaintiff, K.R., a Minor, by and through COMMERCE TRUST

COMPANY, as Guardian of the Estate of K.R., demands judgment against Defendants, OSF

HEALTHCARE SYSTEM, an Illinois Corporation d/b/a SAINT FRANCIS MEDICAL

CENTER; DOUGLAS C. HARRINGTON, M.D., S.C., an Illinois Corporation; and DOUGLAS

C. HARRINGTON, M.D.

                                       COUNT VIII
                                   (Family Expense Act)
                     (Johnson v. OSF, Harrington Corp., Dr. Harrington)



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       NOW COMES the Plaintiff, SHREZE JOHNSON, Individually, by and through her

attorneys, SALVI, SCHOSTOK & PRITCHARD P.C., and complaining of the Defendants, OSF

HEALTHCARE SYSTEM, an Illinois Corporation d/b/a SAINT FRANCIS MEDICAL

CENTER; DOUGLAS C. HARRINGTON, M.D., S.C., an Illinois Corporation; and DOUGLAS

C. HARRINGTON, M.D., states as follows:

       1-126. The Plaintiff, Shreze Johnson, Individually, re-states, re-alleges, and incorporates

by reference paragraphs 1 through 126 of the General Allegations and Count VII as paragraphs 1

through 126 of Count VIII.

       127.    Shreze Johnson is K.R.’s lawful parent and legal guardian, and as such, has become

liable for substantial pecuniary amounts arising out of K.R.’s injuries.

       128.    The recovery of the aforementioned expenses is set forth under the provisions of

the Family Expense Act, 750 ILCS 65/15.

       WHEREFORE, the Plaintiff, SHREZE JOHNSON, Individually, demands judgment

against Defendants, OSF HEALTHCARE SYSTEM, an Illinois Corporation d/b/a SAINT

FRANCIS MEDICAL CENTER; DOUGLAS C. HARRINGTON, M.D., S.C., an Illinois

Corporation; and DOUGLAS C. HARRINGTON, M.D.

                                          COUNT IX
                                     (Medical Negligence)
                               (K.R. v. OSF, IHMA, Dr. Caruso)

       NOW COMES the Plaintiff, K.R., a Minor, by and through COMMERCE TRUST

COMPANY, as Guardian of the Estate of K.R., by and through her attorneys, SALVI,

SCHOSTOK & PRITCHARD P.C., and complaining of Defendants, OSF HEALTHCARE

SYSTEM, an Illinois Corporation d/b/a SAINT FRANCIS MEDICAL CENTER; ILLINOIS




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HOSPITAL MEDICINE ASSOCIATES, P.C., an Illinois Corporation; and ANTHONY J.

CARUSO, M.D.; states as follows:

       1-124. The Plaintiff re-states, re-alleges, and incorporates by reference paragraphs 1

through 124 of the General Allegations as paragraphs 1 through 124 of Count IX.

       125.    While providing obstetrical services to Shreze Johnson and K.R., Dr. Caruso had a

duty to possess and apply the knowledge, skill, and care of a reasonably careful obstetrician under

the same or similar circumstances.

       126.    Dr. Caruso, individually and as an agent, apparent agent and/or employee of OSF

and/or IHMA, breached his duty and was negligent in treating Shreze Johnson and K.R in one or

more of the following respects:

           a. Failed to appropriately respond to non-reassuring fetal monitor strips;

           b. Failed to identify the occiput posterior (“OP”) position of the baby;

           c. Improperly used a vacuum-assisted method of delivery on a baby in an OP position;

           d. Failed to recommend the proper position for placement of the vacuum on the baby’s
              head;

           e. Failed to intervene when the vacuum was placed in an improper position on the
              baby’s head;

           f. Failed to properly assess the fetal position prior to allowing the placement of the
              vacuum;

           g. Failed to inform Shreze Johnson of the risks associated with the use of a vacuum in
              the delivery of a baby in the OP position; and/or

           h. Failed to perform a cesarean section.

       127.    As a direct and proximate result of one or more of the foregoing negligent acts

and/or omissions of Dr. Caruso, individually, and as an agent, apparent agent and/or employee of

OSF and IHMA, K.R., a minor, suffered severe, permanent, and irreversible neurological damages;


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is permanently disabled and disfigured; has experienced and will permanently experience untold

pain and suffering; has incurred and in the future, will incur, obligations for substantial sums of

money for hospital, medical, nursing, caretaking, custodial bills, and has an impaired or no earning

capacity.

       128.    The Plaintiff attaches affidavits and reports in compliance with 735 ILCS 5/2-622

(attached as Group Exhibit C). Attached as Exhibit D is an Order appointing COMMERCE

TRUST COMPANY Guardian of the Estate of K.R., as evidence of its right to bring this action.

       WHEREFORE, the Plaintiff, K.R., a Minor, by and through COMMERCE TRUST

COMPANY, as Guardian of the Estate of K.R., demands judgment against Defendants, OSF

HEALTHCARE SYSTEM, an Illinois Corporation d/b/a SAINT FRANCIS MEDICAL

CENTER; ILLINOIS HOSPITAL MEDICINE ASSOCIATES, P.C., an Illinois Corporation; and

ANTHONY J. CARUSO, M.D.

                                          COUNT X
                                    (Family Expense Act)
                             (Johnson v. OSF, IHMA, Dr. Caruso)

       NOW COMES the Plaintiff, SHREZE JOHNSON, Individually, by and through her

attorneys, SALVI, SCHOSTOK & PRITCHARD P.C., and complaining of the Defendants, OSF

HEALTHCARE SYSTEM, an Illinois Corporation d/b/a SAINT FRANCIS MEDICAL

CENTER; ILLINOIS HOSPITAL MEDICINE ASSOCIATES, P.C., an Illinois Corporation; and

ANTHONY J. CARUSO, M.D.

       1-126. The Plaintiff, Shreze Johnson, Individually, re-states, re-alleges, and incorporates

by reference paragraphs 1 through 126 of the General Allegations and Count IX as paragraphs 1

through 126 of Count X.




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       127.    Shreze Johnson is K.R.’s lawful parent and legal guardian, and as such, has become

liable for substantial pecuniary amounts arising out of K.R.’s injuries.

       128.    The recovery of the aforementioned expenses is set forth under the provisions of

the Family Expense Act, 750 ILCS 65/15.

       WHEREFORE, the Plaintiff, SHREZE JOHNSON, Individually, demands judgment

against Defendants, OSF HEALTHCARE SYSTEM, an Illinois Corporation d/b/a SAINT

FRANCIS MEDICAL CENTER; ILLINOIS HOSPITAL MEDICINE ASSOCIATES, P.C., an

Illinois Corporation; and ANTHONY J. CARUSO, M.D.

                                          COUNT XI
                                      (Medical Negligence)
                                         (K.R. v. OSF)

       NOW COMES the Plaintiff, K.R., a Minor, by and through COMMERCE TRUST

COMPANY, as Guardian of the Estate of K.R., by and through her attorneys, SALVI,

SCHOSTOK & PRITCHARD P.C., and complaining of Defendant, OSF HEALTHCARE

SYSTEM, an Illinois Corporation d/b/a SAINT FRANCIS MEDICAL CENTER, states as

follows:

       1-124. The Plaintiff re-states, re-alleges, and incorporates by reference paragraphs 1

through 124 of the General Allegations as paragraphs 1 through 124 of Count XI.

       125.    While providing medical services to K.R., OSF, by and through the following

agents and employees, must possess and use the knowledge, skill, and care ordinarily used by

reasonably careful physicians and residents in treating K.R.:

               a. Lauren Holmgren, M.D.

               b. Vivian Szymczuk, M.D.

               c. Kyle Hickman, M.D.


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               d. Benedicto Fernandes, D.O.

       126.    OSF, by and through its agents and employees, breached its duties and was

negligent in one or more of the following respects:

       Lauren Holmgren, M.D.

       a. Failed to recognize subgaleal hemorrhage is strongly associated with vacuum
          extraction;

       b. Failed to recognize that KR was at increased risk for subgaleal hemorrhage given her
          birth history, including a non-reassuring fetal monitor strip and vacuum-assisted
          extraction;

       c. Failed to recognize the signs and symptoms of subgaleal hemorrhage;

       d. Failed to timely treat subgaleal hemorrhage by promptly administering blood products
          to address blood loss and acidosis;

       e. Failed to order serial hemoglobin and hematocrit tests in light of birth history;

       f. Failed to recognize falling hemoglobin and hematocrit as a sign of subgaleal
          hemorrhage;

       g. Failed to adequately monitor KR’s head circumference;

       h. Failed to recognize increase in head circumference as sign of subgaleal hemorrhage;
          and/or

       i. Failed to timely order lab work to assess presence of metabolic acidosis, a sign of the
          effects of internal bleeding.

       Vivian Szymczuk, M.D.

       a. Failed to recognize subgaleal hemorrhage is strongly associated with vacuum
          extraction;

       b. Failed to recognize that KR was at increased risk for subgaleal hemorrhage given her
          birth history, including a non-reassuring fetal monitor strip and vacuum-assisted
          extraction;

       c. Failed to recognize the signs and symptoms of subgaleal hemorrhage;

       d. Failed to timely treat subgaleal hemorrhage by promptly administering blood products
          to address blood loss and acidosis;


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e. Failed to order serial hemoglobin and hematocrit tests in light of birth history;

f. Failed to recognize falling hemoglobin and hematocrit as a sign of subgaleal
   hemorrhage;

g. Failed to adequately monitor KR’s head circumference;

h. Failed to recognize increase in head circumference as sign of subgaleal hemorrhage;
   and/or

i. Failed to timely order lab work to assess presence of metabolic acidosis, a sign of the
   effects of internal bleeding.

Kyle Hickman, M.D.

a. Failed to recognize subgaleal hemorrhage is strongly associated with vacuum
   extraction;

b. Failed to recognize that KR was at increased risk for subgaleal hemorrhage given her
   birth history, including a non-reassuring fetal monitor strip and vacuum-assisted
   extraction;

c. Failed to recognize the signs and symptoms of subgaleal hemorrhage;

d. Failed to timely treat subgaleal hemorrhage by promptly administering blood products
   to address blood loss and acidosis;

e. Failed to order serial hemoglobin and hematocrit tests in light of birth history;

f. Failed to recognize falling hemoglobin and hematocrit as a sign of subgaleal
   hemorrhage;

g. Failed to adequately monitor KR’s head circumference;

h. Failed to recognize increase in head circumference as sign of subgaleal hemorrhage;
   and/or

i. Failed to timely order lab work to assess presence of metabolic acidosis, a sign of the
   effects of internal bleeding.

Benedicto Fernandes, D.O.

a. Failed to timely treat subgaleal hemorrhage by promptly administering blood products
   to address blood loss and acidosis;

b. Failed to order serial hemoglobin and hematocrit tests in light of birth history;



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       c. Failed to recognize falling hemoglobin and hematocrit as a sign of subgaleal
          hemorrhage;

       d. Failed to adequately monitor KR’s head circumference;

       e. Failed to recognize increase in head circumference as sign of subgaleal hemorrhage;
          and/or

       f. Failed to timely order lab work to assess presence of metabolic acidosis, a sign of the
          effects of internal bleeding.

       127.    As a direct and proximate result of one or more of the foregoing negligent acts

and/or omissions of OSF, by and through its agents and employees, Lauren Holmgren, M.D.;

Vivian Szymczuk, M.D.; Kyle Hickman, M.D.; and Benedicto Fernandes, D.O.; K.R., a minor,

suffered severe, permanent, and irreversible neurological damages; is permanently disabled and

disfigured; has experienced and will permanently experience untold pain and suffering; has

incurred and in the future, will incur, obligations for substantial sums of money for hospital,

medical, nursing, caretaking, custodial bills, and has an impaired or no earning capacity.

       128.    The Plaintiff attaches affidavits and reports in compliance with 735 ILCS 5/2-622

(attached as Group Exhibit C). Attached as Exhibit D is an Order appointing COMMERCE

TRUST COMPANY Guardian of the Estate of K.R., as evidence of its right to bring this action.

       WHEREFORE, the Plaintiff, K.R., a Minor, by and through COMMERCE TRUST

COMPANY, as Guardian of the Estate of K.R., demands judgment against Defendant, OSF

HEALTHCARE SYSTEM, an Illinois Corporation d/b/a SAINT FRANCIS MEDICAL

CENTER.

                                         COUNT XII
                                     (Family Expense Act)
                                       (Johnson v. OSF)

       NOW COMES the Plaintiff, SHREZE JOHNSON, Individually, by and through her

attorneys, SALVI, SCHOSTOK & PRITCHARD P.C., and complaining of the Defendants, OSF


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HEALTHCARE SYSTEM, an Illinois Corporation d/b/a SAINT FRANCIS MEDICAL

CENTER.

       1-126. The Plaintiff, Shreze Johnson, Individually, re-states, re-alleges, and incorporates

by reference paragraphs 1 through 126 of the General Allegations and Count XI as paragraphs 1

through 126 of Count XII.

       127.    Shreze Johnson is K.R.’s lawful parent and legal guardian, and as such, has become

liable for substantial pecuniary amounts arising out of K.R.’s injuries.

       128.    The recovery of the aforementioned expenses is set forth under the provisions of

the Family Expense Act, 750 ILCS 65/15.

       WHEREFORE, the Plaintiff, SHREZE JOHNSON, Individually, demands judgment

against Defendants, OSF HEALTHCARE SYSTEM, an Illinois Corporation d/b/a SAINT

FRANCIS MEDICAL CENTER.


                                          COUNT XIII
                                      (Medical Negligence)
                                (K.R. v. OSF, OSFMSG, Shallat)

       NOW COMES the Plaintiff, K.R., a Minor, by and through COMMERCE TRUST

COMPANY, as Guardian of the Estate of K.R., by and through her attorneys, SALVI,

SCHOSTOK & PRITCHARD P.C., and complaining of Defendants, OSF HEALTHCARE

SYSTEM, an Illinois Corporation d/b/a SAINT FRANCIS MEDICAL CENTER; OSF MULTI-

SPECIALTY GROUP, an Illinois Corporation; and SHELLY SHALLAT, M.D.; states as follows:

       1-124. The Plaintiff re-states, re-alleges, and incorporates by reference paragraphs 1

through 124 of the General Allegations as paragraphs 1 through 124 of Count XIII.




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       125.      While providing pediatric services to K.R., Dr. Shallat had a duty to possess and

apply the knowledge, skill, and care of a reasonably careful pediatrician under the same or similar

circumstances.

       126.      Dr. Shallat, individually and as an agent, apparent agent and/or employee of OSF

and/or OSFMSG, breached her duty and was negligent in treating K.R. in one or more of the

following respects:

       a. Failed to recognize subgaleal hemorrhage is strongly associated with vacuum
          extraction;

       b. Failed to recognize that KR was at increased risk for subgaleal hemorrhage given her
          birth history, including a non-reassuring fetal monitor strip and vacuum-assisted
          extraction;

       c. Failed to recognize the signs and symptoms of subgaleal hemorrhage;

       d. Failed to timely treat subgaleal hemorrhage by promptly administering blood products
          to address blood loss and acidosis;

       e. Failed to order serial hemoglobin and hematocrit tests in light of birth history;

       f. Failed to recognize falling hemoglobin and hematocrit as a sign of subgaleal
          hemorrhage;

       g. Failed to adequately monitor KR’s head circumference;

       h. Failed to recognize increase in head circumference as sign of subgaleal hemorrhage;

       i. Failed to timely order lab work to assess presence of metabolic acidosis, a sign of the
          effects of internal bleeding; and/or

       j. Failed to adequately communicate medical history and clinical status to neonatologist
          accepting care of KR.

       127.      As a direct and proximate result of one or more of the foregoing negligent acts

and/or omissions, by Dr. Shallat, as agent and/or apparent agent and/or employee of OSF and

OSFMSG, K.R., a minor, suffered severe, permanent, and irreversible neurological damages; is

permanently disabled and disfigured; has experienced and will permanently experience untold pain

and suffering; has incurred and in the future, will incur, obligations for substantial sums of money

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for hospital, medical, nursing, caretaking, custodial bills, and has an impaired or no earning

capacity.

       128.    Attached as Group Exhibit C are affidavits and reports in compliance with 735

ILCS 5/2-622. Attached as Exhibit D is an Order appointing COMMERCE TRUST COMPANY

Guardian of the Estate of K.R., as evidence of its right to bring this action.

       WHEREFORE, the Plaintiff, K.R., a Minor, by and through COMMERCE TRUST

COMPANY, as Guardian of the Estate of K.R., demands judgment against Defendants, OSF

HEALTHCARE SYSTEM, an Illinois Corporation d/b/a SAINT FRANCIS MEDICAL

CENTER; OSF MULTI-SPECIALTY GROUP; and SHELLY SHALLAT, M.D.

                                         COUNT XIV
                                     (Family Expense Act)
                               (Johnson v. OSF, OSFMG, Shallat)

       NOW COMES the Plaintiff, SHREZE JOHNSON, Individually, by and through her

attorneys, SALVI, SCHOSTOK & PRITCHARD P.C., and complaining of the Defendants, OSF

HEALTHCARE SYSTEM, an Illinois Corporation d/b/a SAINT FRANCIS MEDICAL

CENTER; OSF MULTI-SPECIALTY GROUP, an Illinois Corporation; and SHELLY

SHALLAT, M.D., states as follows:

       1-126. The Plaintiff, Shreze Johnson, Individually, re-states, re-alleges, and incorporates

by reference paragraphs 1 through 126 of the General Allegations and Count XIII as paragraphs 1

through 126 of Count XIV.

       127.    Shreze Johnson is K.R.’s lawful parent and legal guardian, and as such, has become

liable for substantial pecuniary amounts arising out of K.R.’s injuries.

       128.    The recovery of the aforementioned expenses is set forth under the provisions of

the Family Expense Act, 750 ILCS 65/15.


                                                 33
                       1:19-cv-01047-JES-JEH # 134           Page 34 of 56




       WHEREFORE, the Plaintiff, SHREZE JOHNSON, Individually, demands judgment

against Defendants, OSF HEALTHCARE SYSTEM, an Illinois Corporation d/b/a SAINT

FRANCIS MEDICAL CENTER; OSF MULTI-SPECIALTY GROUP, an Illinois Corporation;

and SHELLY SHALLAT, M.D.

                                          COUNT XV
                                       (Medical Negligence)
                                      (K.R. v. OSF, Ramiro)

       NOW COMES the Plaintiff, K.R., a Minor, by and through COMMERCE TRUST

COMPANY, as Guardian of the Estate of K.R., by and through her attorneys, SALVI,

SCHOSTOK & PRITCHARD P.C., and complaining of Defendants, OSF HEALTHCARE

SYSTEM, an Illinois Corporation d/b/a SAINT FRANCIS MEDICAL CENTER and SUSAN

RAMIRO, M.D., states as follows:

       1-124. The Plaintiff re-states, re-alleges, and incorporates by reference paragraphs 1

through 124 of the General Allegations as paragraphs 1 through 124 of Count XV.

       125.      While providing pediatric services to K.R., Dr. Ramiro had a duty to possess and

apply the knowledge, skill, and care of a reasonably careful neonatologist under the same or similar

circumstances.

       126.      Dr. Ramiro, individually and as an agent, apparent agent and/or employee of OSF,

breached her duty and was negligent in treating K.R. in one or more of the following respects:

       a. Failed to timely treat subgaleal hemorrhage by promptly administering blood products
          to address blood loss and acidosis;

       b. Failed to order serial hemoglobin and hematocrit tests in light of birth history;

       c. Failed to recognize falling hemoglobin and hematocrit as a sign of subgaleal
          hemorrhage;

       d. Failed to adequately monitor KR’s head circumference;



                                                34
                       1:19-cv-01047-JES-JEH # 134            Page 35 of 56




       e. Failed to recognize increase in head circumference as sign of subgaleal hemorrhage;
          and/or

       f. Failed to timely order lab work to assess presence of metabolic acidosis, a sign of the
          effects of internal bleeding.

       127.    As a direct and proximate result of one or more of the foregoing negligent acts

and/or omissions, by Dr. Ramiro, as agent and/or apparent agent and/or employee of OSF, K.R., a

minor, suffered severe, permanent, and irreversible neurological damages; is permanently disabled

and disfigured; has experienced and will permanently experience untold pain and suffering; has

incurred and in the future, will incur, obligations for substantial sums of money for hospital,

medical, nursing, caretaking, custodial bills, and has an impaired or no earning capacity.

       128.    Attached as Group Exhibit C are affidavits and reports in compliance with 735

ILCS 5/2-622. Attached as Exhibit D is an Order appointing COMMERCE TRUST COMPANY

Guardian of the Estate of K.R., as evidence of its right to bring this action.

       WHEREFORE, the Plaintiff, K.R., a Minor, by and through COMMERCE TRUST

COMPANY, as Guardian of the Estate of K.R., demands judgment against Defendants, OSF

HEALTHCARE SYSTEM, an Illinois Corporation d/b/a SAINT FRANCIS MEDICAL CENTER

and SUSAN RAMIRO, M.D.

                                          COUNT XVI
                                      (Family Expense Act)
                                    (Johnson v. OSF, Ramiro)

       NOW COMES the Plaintiff, SHREZE JOHNSON, Individually, by and through her

attorneys, SALVI, SCHOSTOK & PRITCHARD P.C., and complaining of the Defendants, OSF

HEALTHCARE SYSTEM, an Illinois Corporation d/b/a SAINT FRANCIS MEDICAL CENTER

and SUSAN RAMIRO, M.D., states as follows:




                                                 35
                      1:19-cv-01047-JES-JEH # 134            Page 36 of 56




       1-126. The Plaintiff, Shreze Johnson, Individually, re-states, re-alleges, and incorporates

by reference paragraphs 1 through 126 of the General Allegations and Count XV as paragraphs 1

through 126 of Count XVI.

       127.    Shreze Johnson is K.R.’s lawful parent and legal guardian, and as such, has become

liable for substantial pecuniary amounts arising out of K.R.’s injuries.

       128.    The recovery of the aforementioned expenses is set forth under the provisions of

the Family Expense Act, 750 ILCS 65/15.

       WHEREFORE, the Plaintiff, SHREZE JOHNSON, Individually, demands judgment

against Defendants, OSF HEALTHCARE SYSTEM, an Illinois Corporation d/b/a SAINT

FRANCIS MEDICAL CENTER and SUSAN RAMIRO, M.D.

                          PLAINTIFFS DEMAND TRIAL BY JURY

                                              SALVI, SCHOSTOK & PRITCHARD P.C.

                                              By: /s/ Matthew L. Williams__________
                                                      One of the Attorneys for Plaintiffs


Matthew L. Williams (ARDC #6256858)
Eirene N. Salvi (ARDC #6321198)
John Mennie (ARDC # 6311221)
Salvi, Schostok & Pritchard P.C.
161 N. Clark Street, Suite 4700
Chicago, IL 60601
312.372.1227
mwilliams@salvilaw.com
esalvi@salvilaw.com
jmennie@salvilaw.com




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(             � DEPARTMEN OF HEALTH & HUMAN SERVICES
                                                                                            Office of the General Counsel
���'Y,20 �                                                                                          General Law Division
                                                                                                             Claims Office
                                                       AUG 3 0 2018                                     330 C Street, SW.
                                                                                            Switzer Building, Suite 2600
                                                                                                 Washington, O.C. 20201
                                                                                                       Ph: (202) 691-2369

           U. S. CERTIFIED MAI RETURN RECEIPT RE UESTED
           (Article No. 7012 3460 000

           Eirene N. Salvi, Esq.
           Law Offices of Salvi, Scho tok & Pritchard, P.C.
           22 West Washington Street Suite 1600
           Chicago, Illinois 60602-1615

           Re: Administrative Tort laim of         a Minor b and throu h Her Mother and
               Next Friend Shreze J hnson, Claim No. 2018-0407
                  Administrative Tort laim of Shreze Johnson lndividuall , Claim No. 2018-0408
                                                                                                            KR
                  Administrative Tort aim of Shrezc Johnson as Parent and Next Friend of
                  a Minor, Claim No. 20 8-0411




                                            -'h1
           Dear Ms. Salvi:

          On April 26, 2018, you file       three administrative tort claims under the Federal Tort Claims Act
          ("FTCA"), 28 U.S.C. §§13         6(b), 24010:>J, 2671-80, on behalf of your client, Shreze Johnson,
          individually and on-behalf                    minor, alleging, inter a/ia, that, on March 22, 2017,
          Carolyn Calhoun, C.N.M.,         nd Heartland Community Health Clinic, located in Peoria, Illinois,
          failed to provide proper lab     r and delivery care to Ms. Johnson, resulting in her baby suffering
          permanent injuries.

          The FTCA authorizes the s Iement of any claim of money damages against the United States
          for, inter alia, injury or deat caused by the negligent or wrongful act or omission of any
          employee of the federal gov rnment, while acting within the scope of employment. Under the
          FTCA, said act or omission ust be such that the United States, if a private person, would be
          liable to the claimant in ace rdance with the law of the place where the act or omission occurred.
          28 u.s.c. § 2672.

          This letter constitutes the n    ice of final determination of this administrative tort claim, as
          required by 28 U.S.C. §§ 24       l(b), 2675(a). The three administrative tort claims of Shreze
          Johnson, individually and o       behalf ofllillilllllllltftninor are denied. The evidence fails to
          establish that the alleged inj   ries were �e negligent or wrongful act or omission of a
          federal employee acting wi       ·n the scope of employment.




                                                                                                                EXHIBIT
                                                                                                         Plaintiff Exhibit
                                                                                                        I          A
                                                                                                                   A
                     1:19-cv-01047-JES-JEH # 134              Page 38 of 56




If your client is dissatisfie with this determination, she may:

        1.     file a writte request with the Agency for reconsideration of the final
               deterrninati n denying the claims within six (6) months from the date of
               mailing of is detemiination (28 C.F.R. § 14. 9); or

       2.      file suit ag   t the United States in the appropriate federal district court
               within six ( ) months from the date of mailing of this determination (28
               U.S.C. § 24 l(b)).

In the event your client req ests reconsideration, the Agency will review the administrative tort
claims within six (6) mon s from the date the request is received. If the reconsidered
administrative tort claim     denied, your client may file suit within six (6) months from the date
of mailing of the final dete ination.

                                                      Sincerely yours,



                                                        � A--�                         C�rJ
                                                      William A. Biglow
                                                      Deputy Associate General Counsel
                                                      Claims and Employment Law Branch
1:19-cv-01047-JES-JEH # 134                                Page 39 of 56




           U.S. Postal Service 11.1                                           ',,

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       I   CERTIFIED MAILr.1 RECEIPT
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 r         Eirene N. Salvi, Esq.
 r          aw Offices of Salvi, Schostok &
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            ritchard, P.C.
            2 W Washington St Ste 1600
            hicago, IL 60602-1615
                         1:19-cv-01047-JES-JEH # 134           Page 40 of 56




                           IN THE UNlTED STATES DISTRICT COURT
                                         FOR THE
                               CENTRAL DISTRICT OF JLLTNOfS


    K.R.                                                       )
               a Minor, b and through Her Mother and           )
Next Friend, Shreze Johns n, and Shrezc Johnson,               )
Individually,                                                  )
                                                               )
           Plaintiffs,                                         )
                                                               )
              v.                                               )
                                                               )
OSF Healthcare System d/ /a Saint Francis Medical Center, )
Bradley Nitzsche, M.D., 'chael Leonardi, M.D., Douglas)
C. Harrington, M.D., S.C., ouglas C. Han-ington, M.D., )
Best Care for Women, lnc. Anthony J. Caruso, M.D.,       )
Heartland Community Hea th Clinic, and Carolyn Calhoun,)
C.N.M.,                                                  )
                                                              )
           Defendants.                                         )


                                       DECLARATION OF
                                       MEREDITH TORRES


        J. I am an Attorn y in the General Law Division, Office of the General Counsel,

Department of Health and uman Services (the "Department"). I am familiar with the official

records of administrative t rt claims maintained by the Department as well as with the system by

which those records are m intained.

       2. The Departmen has a Claims Office thal maintains in a computerized database a

record of administrative to1 t claims filed with the Dcpa1iment, including those filed with respect to

federally supported health enters that have been deemed to be eligible for Federal Tort Claims

Act malpractice coverage.

       3. As a conseque cc, if an administrative tort claim had been filed with the Department

with respect to Heartland ommunity Health Center, ils approved delivery sites or its e
                                                                                                    EXHIBIT

                                                                                                     13B
                                                                                                Plaintiff Exhibit
                                                                                            j
                      1:19-cv-01047-JES-JEH # 134                Page 41 of 56




and/or qualified contractors a record of that filing would be maintained in the Claims Branch's

database.

       4. I have caused a carch of the Claims Branch's database to be conducted and found no

record of an administrativ tort claim filed by Shreze Johnson, Individually and on behalf of
     K.R.
               nd/or an nu horizcd representative relating to Heartland Community Health Clinic

and Carolyn Calhoun, C.N.

       5. 1 have also revi wed ot1icial Agency records and determined that Heartland

Community Health Clinic us deemed eligible for Federal Tort Claims Act malpractice coverage

effective January 1, 2016, nd its coverage has continued without interruption since that time.

The Secretary of Health an Humnn Services' authority to deem entities as Public Health Service

employees under 42 U.S.C. § 233(g) has been delegated to the Associate Administrator, Bureau of

Primary Health Care, Heall Resources and Services Administration. /\ copy of the notification by

tbe Associate Administrato , Bureau of Primary Health Care, Health Resources and Services

Administrotion, Depn11me t of Health ru1d Human Services, lo Hea1tland Community Health

Clinic is attached to this d laration as Exhibit I.

       6. Official Agenc records also indicate that Carolyn Calhoun, C.N.M., was an employee

of Heartland Community l-ealth Clinic at all times relevant to the Plaintiff's complafot in this case.

       I declare under pen lty of perjury that the foregoing is true and correct. 28 U.S.C. § 1746.

       Dated at Washingt n, D.C., this     :J'j;'     day of   ::J,u,"j__"f:::: 2018.

                                               MEREDITH TORRES
                                               Senior Attorney, Claims and Employment Law
                                               General Law Division
                                               Office of the General Counsel
                                               Department of Health and Human Services



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    1:19-cv-01047-JES-JEH # 134   Page 42 of 56




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          DEEMING LETTERS
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                                          1:19-cv-01047-JES-JEH # 134                                              Page 43 of 56
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 a    Preview NOA

     No11ce Email      NOA       NOA LcllP.f

      1. ISSUE 04 TE: tl.lMIDO/YYYYJ
      b/24/2015
      2a. FTCA DEEMING NOTICE NO.:
      1,F000009� 15 01
      2b. Supers•d•s: 11
      3. COVERAGE PeRIOO.
        From: 11112016 Through: 12/31/2016                                                               DEPARTMENT OF HEALTH AND HUMAN SERVICES
       4. NOTICE TYPE:                                                                                 HEALTH RCSOURCES AND SERVICES ADMINISTRATION
       Rcnewt1I
       6. ENTITY NAME ANO ADDRESS
       Heartland Commu1u1y I lenllh t:�1 1,c
       1701 WCIIROEN Sl                                                                                                  NOTICE OF DEEMING ACTION
       PEORIA. IL 6160!1-3531                                                                                FEDERAL TORT CLAIMS ACT AUTHORIZATION:
       6. ENTITY TYPE:                                                                         Fcdcrn►y SupJ}Ottcd l ledUh Ccn1c,. ,As�sl.J11CO Act(FSHCM).• , ;lf'IIEntlPd
       G,antPe
                                                                                             SeCll<.11$ 2l4(Q) (Ill ol lhc PJUl,c 1,eallh Seivir• (PlfSI Acl •z USG § 233'(111111

       7. CXECUTIVE DIRECTOR:
       Charles Oan<Jota,1
       8a. GRANTEE ORGANIZ/1 TION:
       lfnMland Comniun�y Hoollh Chnlc
       8b. GRANT NUMBER:
       -2457
       9. THIS ACTION IS BASED ON THE INFO              IMTION SUBMITTED TO. ANO AS APPROVED BY HRSA, AS REQUIRED UNDER 42 U.S.C. § 2331h) FOR THE
       ABOVE TITLED ENTITY AND 16 SUBJEC                TO THE TERMS /IND CONDITIONS INCORPORATED ElrHER DIRECTLY OR BY REFERENCE IN THE
       FOLLOWING·
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       Eloctro11lc•lly signori by Tony• Bo..,,rs, oputy Associate Adm,n,iirator for Primary Hta/fh Care on· 6/2412015 &·2J.33 PM




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                    1:19-cv-01047-JES-JEH # 134                 Page 44 of 56




FTCA DEEMING NOTIC
                                  GRANT NUMBER:
NO.:
                                   ___..2457
1-F00000934-15-01


Heartland Community H alth Clinic
1701 W GARDEN ST
PEORIA, IL61605-3531

Dear Charles Bandoian:

The Health Resources an Services Administration (HRSA). in accordance with the Federally
Supported Health Centers Assistance Act (FSHCAA), as amended, sections 224(g)-(n) of the Public
Health Service {PHS) Act, 42 U.S.C. §§ 233(9)-{n), deems Heartland Community Health Clinic to be
an employee of the PHS, or the purposes of section 224, effective 1/1/2016 through 12/31/2016.

Section 224(a) of the PH Act provides liability protection under the Federal Tort Claims Act
(FTCA). 28 U.S.C. §§ 134 (b), 2672, or by alternative benefits provided by the United States where
the availability of such be efits precludes a remedy under the FTCA, for damage for personal injury,
including death, resulting ram the performance of medical, surgical, dental, or related functions by
PHS employees while act g within the scope of such employment. This prolection is exclusive of
any other civil action or pr ceeding. Coverage extends to deemed ent1t1es and their (1) officers; (2)
governing board member ; (3) full- and part-time employees; and (4) contractors who are licensed
or certified individual heal 11 care practitioners providing full-time services (i.e., on average at least
32½ hours per week for t e entity for the period of the contract), or. if providing an average of less
than 32½ hours per week of such service, are licensed or certified providers in the fields of family
practice, general internal 1edicine. general pediatrics, or obstetrics/gy11ecology. Volunteers are
neither employees nor co tractors and therefore are not eligible for FTCA coverage under
FSHCAA.

This Notice of Deeming A lion (NOA) is also confirmation of medical malpractice coverage for both
Heartland Community He Ith Clinic and its covered individuals as described above. This NOA,
along with documentation confirming employment or contractor status with the deemed entity. may
be used to show liability c verage for damage for personal injury, including death, resulting from the
performance of medical. urgical. denial. or related functions by PHS employees while acting within
the scope of such employ ent.

In addition, FTCA covera e 1s comparable to an "occurrence" policy w1t11out a monetary cap,
Therefore, any coverage I mits that may be mandated by other organizations are met.

This action is based on th     information provided in your FTCA deeming application, as required
under 42 U.S.C. § 233(h)     with regard to your entity's: (1) implementat1on of appropriate policies
and procedures to reduc      the risk of malpractice and litigation; (2) review and verification of
professional credentials a    d privileges, references, claims history, fitness, professional review
organization findings, an    licensure status of health professionals; (3) cooperation with the
Department of Justice (D      J) in t11e defense of claims and actions to prevent claims in the future;
and (4) cooperation with     OJ in providing information related to previous malpractice claims history.

Deemed health centers ust continue to receive funding under Section 330 of the PHS Act, 42
U.S.C. § 254b, in order to maintain coverage as a deemed PHS employee. If lhe deemed entity
loses its Section 330 fun iny, sucll coverage will end irnmed1ately upo11 terrninallon of the grant. In
addition to the relevant st tutory and regulatory requirements, every deemed health center is
expected to follow HRSA' FTCA-related policies and procedures, which may be found online at
http://www.bphc.hrsa.gov

For further information, pl ase contact your HRSA Project Officer as listed on your Notice of Grant
                                      1:19-cv-01047-JES-JEH # 134                                          Page 45 of 56
Preview NDA I EU I HRSA E                             s                                                                                                          Page 1 of 1


 � Preview NOA
   Notice Email      NOA     NOA Leiter


     1, ISSUE DATE: lMMIOOIYYVY)
     6/2312016
     2a. FTCA DEEMING HOTICE NO.:
     1-F00000934-16-0 t
     2b. Suporoodes: [ J
     3. COVERAGE PERIOD:
       From: 1/1/2017 Through: 12/31/ZOt7                                                         DEPARTMENT OF HEALTH AND HUMAN SERVICES
                                                                                                HEALTH RESOURCES AND SERVICES ADMINISTRATION
     4. NOTICE TYPE:
     Ronewcl
     5. ENTITY NAME AND ADDRESS:
     Heartland Community He:illJl Cltnic
     1701 W GARDEN ST PEORIA IL 61605-35 1                                                                        NOTICE OF DEEMINO ACTION
     PEORIA. IL                                                                                       FEDERAL TORT CLAIMS ACT AUTHORIZATION:
     6, ENTITY TYPE:                                                                    f'edemUy Supported Heollh Cenlers As!llstsnce Act(FSHCM}, as amondcd.
     Grantee                                                                          SecttOllS 22◄(11)·{11) cf 1ne PubUC Heallh Service (Pi-tS) ACI. -42 USC § 233(91·(0)

     7, EXECUTIVE DIRECTOR:
     Charles Bandolan
     So. GRANTEE ORGANIZATION:
     Heartland Community Health Clinic
     Sb. GRANT NUMBER:
     �<457
     9. THIS ACTION IS BASED ON THE INFO          MATION SUBMITTED TO, AND AS APPROVED BY HRSA, AS REQUIRED UNDER 42 U.S.C. § 233th) FOR THE
     ABOVE TITLED ENTITY ANO IS SUBJEC            TO THE TERMS AND CONOITIONS INCORPORATEO EITHER OIRECTLY OR BY REFERENCE IN THE
     FOLLOWING:
       a Tho aulhonzino pmaram legislation cite     above
       b The progrem regulation died cbo110, an   .
       c HRSA's FTCA-relatoo pohctos anii proc    dures.

     In U1s event then, are conDicUng or othelWls incoo11slent polioea applicable lo tho progrsm, lhc above 01d8f' of procedcnce 5tlall provail
     10. Remarks:



     The check box [x) In tho &upersedu flul lndlc;ate, that this notlco 1Juperaedas any and all acUve NDAa 11nd rosclnds any and all futura NOAo lssuod prior to
     this notice.
     El&ctronlcal/y signed by Tonya Bowers, ep11ty Assocista Administrator for Primary Health Care on: 612312016 S:-49:37 PM




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                      1:19-cv-01047-JES-JEH # 134                     Page 46 of 56




FTCA DEEMING NOTICE
                                     GRANT NUMBER:
NO.:
1-F00000934-16-01                    .........,.iili,;,.'457


Heartland Community H alth Clinic
1701 W GARDEN ST PE RIA, IL 61605-3531
PEORIA, IL

Dear Charles Bandoian:

The Health Resources an Services Administration (HRSA), in accordance with the Federally
Supported Health Centers Assistance Act (FSHCAA}, as amended, sections 224(g)-(n) of the Public
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Section 224(a) of the PHS Act provides liability protection under 11,e Federal Tort Claims Act
(FTCA), 28 U.S.C. §§ 134 (b), 2672, or by alternative benefits provided by the United States where
the availability of such be efits precludes a remedy under the FTCA, for damage for personal injury,
including death, resulting om the performance of medical, surgical, dental, or related functions by
PHS employees while acti g within the scope of such employment. This protection is exclusive of
any other civil action or pr ceeding. Coverage extends to deemed entities and their (1) officers; (2)
governing board member ; (3) full- and part-time employees; and (4) contractors who are licensed
or certified individual heal! care practitioners providing full-time services (i.e., on average at least
32½ hours per week for the entity for the period of the contract}, or, if providing an average of less
than 32½ hours per week f such service, are licensed or certified providers in the fields of family
practice, general internal r edicine. general pediatrics, or obstetrics/gynecology. Volunteers are
neither employees nor co tractors and therefore are not eligible for FTCA coverage under
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Therefore, any coverage I mils that may be mandated by other organization.s are met.

This action is based on th       information provided in your FTCA deeming application. as required
under 42 U.S.C. § 233(h),      with regard to your entity's: (1) implementation of appropriate policies
and procedures to reduce       the risk of malpractice and litigation; (2) review and verification of
professional credentials a      d privileges, references. claims history. fitness. professional review
organization findings, and     licensure status of health professionals; (3) cooperation with the
Department of Justice (D        J) in the defense of claims and actions to prevent claims in the future;
and (4) cooperation with       OJ in providing information related to previous malpractice claims history.

Deemed health centers m 1st continue to receive funding under Section 330 of the PHS Act, 42
U.S.C. § 254b, in order to maintain coverage as a deemed PHS employee. If t11e deemed entity
loses ils Section 330 fund ny, sucll covernye will eml irnr11etlic:1lely upu11 lerr11i11c:1tio11 of tlte yra11I. In
addition to the relevant st tutory and regulatory requirements, every deemed health center is
expected to follow HRSA' FTCA-related policies and procedures, which may be found online at
http://www.bphc.hrsa.gov

For further information, pl ase contact your HRSA Project Officer as listed on your Notice of Grant
                       1:19-cv-01047-JES-JEH # 134             Page 47 of 56
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                                  PEORIA DIVISION

K.R., a Minor, by and through             )
SHREZE JOHNSON, as Parent and Next Friend;)
and SHREZE JOHNSON, Individually;         )
                                          )
                Plaintiffs,               )
                                          )                    Case No. 1:19-cv-01047
        V.                                )
                                          )
UNITED STATES OF AMERICA;                 )
OSF HEAL THCARE SYSTEM, an Illinois       )
Corporation d/b/a SAINT FRANCIS MEDICAL )
CENTER; BRADLEY NITZSCHE, M.D.;           )
MICHAEL LEONARDI, M.D.; DOUGLAS C.        )
HARRJNGTON, M.D., S.C., an Illinois       )
Corporation; DOUGLAS C. HARRINGTON, M.D.;)
ILLINOIS HOSPITAL MEDICINE ASSOCIATES,)
P.C., an Illinois Corporation; ANTHONY J. )
CARUSO, M.D.; OSF MULTI-SPECIALTY         )
GROUP, an Illinois Corporation; SHELLY    )
SHALLAT, M.D.; and SUSAN RAMIRO, M.D.; )
                                          )
                Defendants.               )

                         PLAINTIFFS' 735 ILCS 5/2-622 AFFIDAVIT

       I, Matthew L. Williams, being first duly sworn, state as follows:

        l.     I am one of the attorneys for the Plaintiffs.

       2.      I have consulted and reviewed the facts of this case with health professionals who

I reasonably believe: (i) are knowledgeable in the relevant issues involved in this particular action;

(ii) practice or have practiced within the last five (5) years, or teach or have taught within the last

five (5) years in the same area of health care or medicine that is at issue in this particular action

and; (iii) meet the expert witness standards set forth in paragraphs (a) through (d) of Section 8-

2501. The reviewing health professionals have determined in a written report, after a review of the

medical records and other relevant medical materials involved in this particular action, that there

is a reasonable and meritorious cause for the filing of this action. The affiant has concluded on



                                                                                                 Plaintiff Exhibit

                                                                                                          C
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the basis of the reviewing health professionals' reviews and consultations that there is reasonable

and meritorious cause for filing this action.

       3.      The Plaintiffs have not previously voluntarily dismissed an action based upon the

same or substantially the same facts, omissions or occurrences.

       FURTHER AFFIANT SAYETH NOT.


                                                Isl Matthew L.      w�
                                                     Matthew L. Williams


SUBSCRIBED AND SWORN TO
                      l9
before me on April l i">), 2020.


                                                                  STACEY CLARK
                                                                    Official Seal
                                                           Notary Public • State of Illinois
                                                        My Commission Expires Mar 18, 2021

Matthew L. Williams (ARDC #6256858)
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              CERTIFICATE FOR AN ACTION IN MEDICAL MALPRACTICE
                          PURSUANT TO 735 ILCS 5/2-622

I am a physician licensed to practice medicine in all of its branches in the State of New York. I
am board ce1tified in obstetrics and gynecology. I have been in practice for over twenty-five
years. I am qualified and familiar with the appropriate standard of care for the issues in this case,
and I am familiar with the methods, procedures and treatments relevant to the allegations at issue
in this case.

I have reviewed in detail the records, facts, and other relevant materials pe1taining to the medical
care and treatment provided to Shreze Johnson and                      including but not limited to
the medical records from OSF St. Francis Medical Center. K.R.

For the reasons that follow below, it is my opinion, which I hold to a reasonable degree of
medical ce1tainty, that a meritorious basis for filing an action exists against Dr. Bradley
Nitzsche, Dr. Michael Leonardi, Dr. Douglas C. HaiTington, Dr. Anthony J. Cai11so, and nurse
midwife, Cai·olyn Calhoun.

Dr. Bradley Nitzsche deviated from the standard of care as follows:

       (a)      Failed to appropriately respond to non-reassuring fetal monitor strips;
       (b)      Failed to identify the occiput posterior position of               K.R.    K.R.
       (c)      Improperly used a vacuum-assisted method of delive1y on                     while
                she was in the occiput posterior position;             K.R.'s
       (d)      Failed to place the vacuum in the proper position on- head;
       (e)      Failed to properly assess the fetal position prior to p�;
       (f)      Failed to info1m Shreze Johnson of the risks associated with the use of a vacuum
                in the delive1y of a baby in the occiput posterior position; and
       (g)      Failed to perfonn a Cesarean section.

Dr. Michael Leonardi deviated from the standard of care as follows:

       (a)     Failed to appropriately respond to non-reassuring fetal monitor strips;
       (b )    Failed to identify the occiput posterior position of               K.R. K.R.
       (c)     Improperly used a vacuum-assisted method of delive1y of                     while
               she was in the occiput posterior position;
        d
       ( )     Failed to recommend the proper placement of the vacuum on                         K.R.'s
               head;
       (e)     Failed to intervene when the vacuum was placed in an improper position on
        K.R.'s -head;
       (f)     �roperly assess the fetal position prior to allowing the placement of the
               vacuum;
       (g )    Failed to info1m Shreze Johnson of the risks associated with the use of a vacuum
               in the delive1y of a baby in the occiput posterior position; and
       (h)     Failed to perfonn a Cesarean section.
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Dr. Douglas C. Harrington deviated from the standard of care as follows:

       (a)     Failed to appropriately respond to non-reassuring fetal monitor strips;
       (b)     Failed to identify the occiput posterior position of                 K.R.
       (c)     Improperly used a vacuum-assisted method of delive1y on                     while
               she was in the occiput posterior position;                    K.R.
       (d)     Failed to recollllllend the proper position for placement of the vacuum on- K.R.'s
               - head;
       (e)     � to intervene when the vacuum was placed in an improper position on
        K.R.'s -head;
       (f)     �y assess the fetal position prior to allowing the placement of the
               vacuum;
       (g)     Failed to info1m Shreze Johnson of the risks associated with the use of a vacuum
               in the delive1y of a baby in the occiput posterior position; and
       (h)     Failed to perfonn a Cesarean section.

Dr. Anthony J. Caruso deviated from the standard of care as follows:

       (a)     Failed to appropriately respond to non-reassuring fetal monitor strips;
       (b)     Failed to identify the occiput posterior position of                 K.R.
       (c)     Improperly used a vacuum-assisted method of de 1ve1y on                      while
               she was in the occiput posterior position;                    K.R.
        d
       ( )     Failed to recollllllend the proper position for placement of the vacuum on- K.R.'s
               - head;
       (e)     Failed to intervene when the vacuum was placed in an improper position on
        K.R.'s                    head;
       (f)     Failed to properly assess the fetal position prior to allowing the placement of the
               vacuum;
       (g)     Failed to info1m Shreze Johnson of the risks associated with the use of a vacuum
               in the delive1y of a baby in the occiput posterior position; and
       (h)     Failed to perfonn a Cesarean section.

Nurse Carolyn Calhoun deviated from the standard of care as follows:

       (a)   Failed to timely recommend a Cesarean section;
       (b)   Failed to appropriately respond to non-reassurin fetal monitor strips;
       (c)   Failed to advocate for Shreze Johnson and                 and
       (d)   Failed to institute the chain of colllllland.   K.R.
                                                                        K.R.
In sum, it is my opinion that the above-referenced deviations in the standard of care each
individually caused, or contributed to cause, injuries to               including but not limited
to subgaleal hemoIThage, kidney damage, and liver damage. Furthe1more, it is my opinion that
the above-referenced deviations in the standard of care each individually cause, or contributed to
cause injuries to Shreze Johnson, including but not limited to, hemoIThage.
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            CERTIFICATE FOR AN ACTION IN MEDICAL MALPRACTICE
                        PURSUANT TO 735 ILCS 5/2-622

I am a physician licensed to practice medicine in the States of California and Idaho in all of its
branches. I am board certified in pediatrics and neonatal-perinatal medicine. I have been in active
practice for over thirty (30) years. I am qualified and familiar with the appropriate standard of care
for a reasonably careful pediatrician and neonatal-perinatal physician. I am familiar with the
methods, procedures, and treatments relevant to the allegations at issue in this case.

I have reviewed in detail medical records, facts, and other relevant materials pertaining to K.R.,
including but not limited to the medical records from OSF St. Francis Medical Center.

For the reasons that follow below, it is my opinion, which I hold to a reasonable degree of medical
certainty, that a meritorious basis for filing an action exists against Lauren Holmgren, M.D.;
Vivian Szymczuk, M.D.; Kyle Hickman, M.D.; Benedicto Fernandes, D.O.; Shelly Shallat, M.D.;
and Susan Ramiro, M.D.

Lauren Holmgren, M.D. deviated from the standard of care in the following respects:

       a. Failed to recognize subgaleal hemorrhage is strongly associated with vacuum
          extraction;

       b. Failed to recognize that KR was at increased risk for subgaleal hemorrhage given her
          birth history, including a non-reassuring fetal monitor strip and vacuum-assisted
          extraction;

       c. Failed to recognize the signs and symptoms of subgaleal hemorrhage;

       d. Failed to timely treat subgaleal hemorrhage by promptly administering blood products
          to address blood loss and acidosis;

       e. Failed to order serial hemoglobin and hematocrit tests in light of birth history;

       f. Failed to recognize falling hemoglobin and hematocrit as a sign of subgaleal
          hemorrhage;

       g. Failed to adequately monitor KR’s head circumference;

       h. Failed to recognize increase in head circumference as sign of subgaleal hemorrhage;
          and/or

       i. Failed to timely order lab work to assess presence of metabolic acidosis, a sign of the
          effects of internal bleeding.

Vivian Szymczuk, M.D. deviated from the standard of care in the following respects:

       a. Failed to recognize subgaleal hemorrhage is strongly associated with vacuum
          extraction;

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      b. Failed to recognize that KR was at increased risk for subgaleal hemorrhage given her
         birth history, including a non-reassuring fetal monitor strip and vacuum-assisted
         extraction;

      c. Failed to recognize the signs and symptoms of subgaleal hemorrhage;

      d. Failed to timely treat subgaleal hemorrhage by promptly administering blood products
         to address blood loss and acidosis;

      e. Failed to order serial hemoglobin and hematocrit tests in light of birth history;

      f. Failed to recognize falling hemoglobin and hematocrit as a sign of subgaleal
         hemorrhage;

      g. Failed to adequately monitor KR’s head circumference;

      h. Failed to recognize increase in head circumference as sign of subgaleal hemorrhage;
         and/or

      i. Failed to timely order lab work to assess presence of metabolic acidosis, a sign of the
         effects of internal bleeding.

Kyle Hickman, M.D. deviated from the standard of care in the following respects:

      a. Failed to recognize subgaleal hemorrhage is strongly associated with vacuum
         extraction;

      b. Failed to recognize that KR was at increased risk for subgaleal hemorrhage given her
         birth history, including a non-reassuring fetal monitor strip and vacuum-assisted
         extraction;

      c. Failed to recognize the signs and symptoms of subgaleal hemorrhage;

      d. Failed to timely treat subgaleal hemorrhage by promptly administering blood products
         to address blood loss and acidosis;

      e. Failed to order serial hemoglobin and hematocrit tests in light of birth history;

      f. Failed to recognize falling hemoglobin and hematocrit as a sign of subgaleal
         hemorrhage;

      g. Failed to adequately monitor KR’s head circumference;

      h. Failed to recognize increase in head circumference as sign of subgaleal hemorrhage;
         and/or



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       i. Failed to timely order lab work to assess presence of metabolic acidosis, a sign of the
          effects of internal bleeding.

Benedicto Fernandes, D.O. deviated from the standard of care in the following respects:

       a. Failed to timely treat subgaleal hemorrhage by promptly administering blood products
          to address blood loss and acidosis;

       b. Failed to order serial hemoglobin and hematocrit tests in light of birth history;

       c. Failed to recognize falling hemoglobin and hematocrit as a sign of subgaleal
          hemorrhage;

       d. Failed to adequately monitor KR’s head circumference;

       e. Failed to recognize increase in head circumference as sign of subgaleal hemorrhage;
          and/or

       f. Failed to timely order lab work to assess presence of metabolic acidosis, a sign of the
          effects of internal bleeding.

Shelly Shallat, M.D. deviated from the standard of care in the following respects:

       a. Failed to recognize subgaleal hemorrhage is strongly associated with vacuum
          extraction;

       b. Failed to recognize that KR was at increased risk for subgaleal hemorrhage given her
          birth history, including a non-reassuring fetal monitor strip and vacuum-assisted
          extraction;

       c. Failed to recognize the signs and symptoms of subgaleal hemorrhage;

       d. Failed to timely treat subgaleal hemorrhage by promptly administering blood products
          to address blood loss and acidosis;

       e. Failed to order serial hemoglobin and hematocrit tests in light of birth history;

       f. Failed to recognize falling hemoglobin and hematocrit as a sign of subgaleal
          hemorrhage;

       g. Failed to adequately monitor KR’s head circumference;

       h. Failed to recognize increase in head circumference as sign of subgaleal hemorrhage;

       i. Failed to timely order lab work to assess presence of metabolic acidosis, a sign of the
          effects of internal bleeding; and/or



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       j. Failed to adequately communicate medical history and clinical status to neonatologist
          accepting care of KR.

Susan Ramiro, M.D. deviated from the standard of care in the following respects:

       a. Failed to timely treat subgaleal hemorrhage by promptly administering blood products
          to address blood loss and acidosis;

       b. Failed to order serial hemoglobin and hematocrit tests in light of birth history;

       c. Failed to recognize falling hemoglobin and hematocrit as a sign of subgaleal
          hemorrhage;

       d. Failed to adequately monitor KR’s head circumference;

       e. Failed to recognize increase in head circumference as sign of subgaleal hemorrhage;
          and/or

       f. Failed to timely order lab work to assess presence of metabolic acidosis, a sign of the
          effects of internal bleeding.

In sum, it is my opinion that the above-referenced deviations in the standard of care, individually
and in combination with each other, caused, or contributed to cause, a delay in the diagnosis and
treatment of K.R.’s condition, which caused K.R. to suffer personal injuries.




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                                              Plaintiff Exhibit

                                                    D
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